Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)




                                                              No. 187.) Having considered the parties’ arguments and the
                2016 WL 5464543                               law, the Court OVERRULES Defendant’s Evidentiary
  Only the Westlaw citation is currently available.           Objections (ECF No. 178-1), DENIES Defendant’s RJN
   United States District Court, S.D. California.             (ECF No. 162-10), and GRANTS Defendant’s MSJ (ECF
                                                              No. 162).
    John T. SHAW; Kenneth Coke; and Raymond
   Rydman, on behalf of themselves and all others
            similarly situated, Plaintiffs,
                          v.
  EXPERIAN INFORMATION SOLUTIONS, INC.,
                     Defendant.                                                   BACKGROUND
            Case No.: 13-CV-1295 JLS (BLM)
                           |
                  Signed 09/28/2016
                                                              I. Factual Background
Attorneys and Law Firms

Christopher Lane, G. John Cento, Cento Law, LLC, Eric S.         A. Data Furnishers’ Reporting of Short Sales
Pavlack, Pavlack Law, LLC, Indianapolis, IN, Matthew J.       Defendant is a consumer reporting agency as defined by
Zevin, Stanley Iola, LLP, San Diego, CA, Mara McRae,
McRae Brooks Warner LLC, Atlanta, GA, for Plaintiffs.         the Fair Credit Reporting Act (FCRA),       15 U.S.C. §§
                                                              1681 et seq. (MSJ Mem. 9,1 ECF No. 162-1; see also Decl.
Kelly V. O’Donnell, Jones Day, San Diego, CA, Adam W.         of Kelly O’Donnell (O’Donnell Decl.) Ex. 36 at 17:18–
Wiers, Jones Day, Chicago, IL, for Defendant.                 18:17, ECF No. 162-7 at 11–12.) Data furnishers, including
                                                              mortgage lenders and credit card companies, report credit
                                                              information to Defendant and other consumer reporting
                                                              agencies on a regular basis. (MSJ Mem. 9, ECF No. 162-
                                                              1; see also O’Donnell Decl. Ex. 36 at 17:6–17, ECF No.
                                                              162-7 at 11.)

                                                              Data furnishers typically report information in a standard
                                                              industry format called Metro 2, although some still utilize
   ORDER: (1) OVERRULING DEFENDANT’S                          the old Metro format. (Decl. of G. John Cento (Cento
  EVIDENTIARY OBJECTIONS, (2) DENYING                         Decl.) Ex. 9 at 358:21–360:2, ECF No. 171-13 at 10–12.)
   DEFENDANT’S REQUEST FOR JUDICIAL                           The Consumer Data Industry Association (CDIA), the
  NOTICE, AND (3) GRANTING DEFENDANT’S                        industry’s trade association, publishes an annual Credit
    MOTION FOR SUMMARY JUDGMENT                               Reporting Resource Guide (CRRG) that outlines detailed
                                                              requirements for all subscribers using Metro 2 that wish to
                                                              report information to Defendant and its competitors. (Decl.
Hon. Janis L. Sammartino, United States District Judge
                                                              of Kimberly Hughes (Hughes Decl. ¶ 10, ECF No. 162-9;
*1 Presently before the Court is Defendant Experian           see also Cento Decl. Exs. 1–6, ECF Nos. 171-3–8.)
Information Solutions, Inc.’s Motion for Summary
Judgment or, in the Alternative, Summary Adjudication.        The CRRG defines a short sale as:
(MSJ, ECF Nos. 162, 167 (sealed).) Also before the Court
are Plaintiffs’ John T. Shaw, Kenneth Coke, and Raymond
Rydman’s Opposition to (ECF Nos. 171, 176 (sealed), 185                   The sale of real estate in which the
(sealed)) and Defendant’s Reply in Support of (ECF No.                    proceeds from the sale fall short of
178, 184 (sealed)) the MSJ, as well as Defendant’s Request                the balance owed on the loan, which
for Judicial Notice (RJN, ECF No. 162-10), Defendant’s                    is secured by the property sold. In a
Evidentiary Objections (Objs., ECF No. 178-1), and                        short sale, the lender agrees to
Plaintiff’s Response to Defendant’s Objections (ECF No.                   discount the loan balance typically
186). The Court held a hearing on September 1, 2016. (ECF
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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



             due to an economic or financial                      the full balance), and a Current Balance and Amount Past
             hardship on the part of the                          Due of zero. (Cento Decl. Ex. 5 at 6-39, ECF No. 171-7 at
             consumer.                                            195; Cento Decl. Ex. 6 at 6-45, ECF No. 171-8 at 202.)



(See, e.g., Cento Decl. Ex. 1 at 7-5, ECF No. 171-3 at 185.)
Short sales are considered by lenders and credit scorers to
be significant derogatory events. (Pl.’s Statement of                B. Defendant’s Reporting of Short Sales
Disputed & Undisputed Facts (Pl.’s Stmt.) 2, ECF No. 171-         Although data furnishers report information using Metro or
1 at 3.)                                                          Metro 2, Defendant and the other consumer reporting
                                                                  agencies each have different proprietary outputs and
In 2009 and 2010, the CRRG instructed data furnishers to          displays for the reports they generate. (Pl.’s Stmt. 7, ECF
report a short sale using, in relevant part, an Account Status    No. 171-1 at 6.) Defendant reports information in both
Code of “13 or 61-65, as applicable,” a Special Comment           credit reports (provided to subscribers) and consumer
of “AU (Account paid in full for less than the full               disclosures (provided to consumers). (MSJ Mem. 13, ECF
balance),” and a Current Balance and Amount Past Due              No. 162-1 (citing      15 U.S.C. §§ 1681a(d),       1681g);
amount of zero. (Cento Decl. Ex. 1 at 6-18, ECF No. 171-          see also Hughes Decl. ¶ 12, ECF No. 162-9.) Defendant
3 at 167; Cento Decl. Ex. 2 at 6-27; ECF No. 171-4 at 179.)       and other consumer reporting agencies are regulated by the
An Account Status Code of “13” indicated a “[p]aid or             Consumer Financial Protection Bureau (CFPB).
closed account/zero balance,” while “61” through “65”             (O’Donnell Decl. Ex. 36 at 15:5–10, ECF No. 162-7 at 9.)
meant the account was “paid in full,” but there was a
“voluntary        surrender,”       “collection     account,”     The vast majority of credit reports go to credit grantors,
“repossession,” “charge-off,” or “foreclosure...started,”         who read the information with computers. (Pl.’s Stmt. 18,
respectively. (Cento Decl. Ex. 1 at 5-14, ECF No. 171-3 at        ECF No. 176-1 at 15.) The information is therefore
112; Cento Decl. Ex. 2 at 5-14, ECF No. 171-4 at 114.)            delivered in a computer-generated format “in segments and
                                                                  bits and bytes.” (Id.) Defendant uses its own proprietary
*2 The CRRG provided two options for reporting a short            coding to report information to credit grantors. (Hughes
sale in 2011 and 2012. (See Cento Decl. Ex. 9 at 343:8–22,        Decl. ¶ 14, ECF No. 162-9.) Although this output is easily
ECF No. 171-13 at 9; see also Cento Decl. Exs. 3–4, ECF           read by the computers of credit grantors with reference to
Nos. 171-5–6.) In the first option, the real estate was sold      Defendant’s technical manuals, it is essentially
for less than the full balance owed and the deficiency            incomprehensible to human beings. (Pl.’s Stmt. 18, ECF
balance was forgiven. (Cento Decl. Ex. 3 at 6-39, ECF No.         No. 171-1 at 15.)
171-5 at 195; Cento Decl. Ex. 4 at 6-39, ECF No. 171-6 at
195.) In those circumstances, the data furnisher was to           Defendant’s technical manuals include its Automated
report an Account Status Code of 13 (Paid or closed               Response Format Specifications (O’Donnell Decl. Ex. 2,
account/zero balance) or 65 (Account paid in full, a              ECF No. 167-1 at 5–73 (sealed)) and its File One Appendix
foreclosure was started), a Special Comment of AU                 (O’Donnell Decl. Ex. 3, ECF No. 167-1 at 75–218
(Account paid in full for less than the full balance), and a      (sealed)), both of which Defendant provides to its
Current Balance and Amount Past Due of zero. (Id.) When           subscribers (Hughes Decl. ¶ 13, ECF No. 162-9; see also
the real estate was sold for less than the full balance but the   Cento Decl. Ex. 95, ECF No. 162-91). In February 2010,
deficiency balance was not forgiven, however, the                 for example, Scott Wright, Defendant’s Senior Client
furnisher reported the applicable Account Status Code             Technical Services Representative, emailed “Tehnical [sic]
specifying how the consumer was paying the deficiency             Manual Access” information to Stacey Shifman at Fannie
balance; a Special Comment of “CM,” meaning                       Mae. (O’Donnell Decl. Exs. 5–6, ECF No. 162-4 at 38, 40.)
“[c]ollateral released by creditor/balance owing”; a Current
Balance in the amount of the deficiency; and an Amount            Pursuant to its technical manuals, Defendant reports short
Past Due of the outstanding past due amount, if delinquent.       sales to credit grantors in the following manner:
(Id.)
                                                                       • Account Type (for a short sale, some kind of
In 2013 and 2014, the CRRG again proscribed one                        mortgage related account such as a first mortgage,
treatment for short sales, which again reported an Account             home equity line of credit, etc.)
Status Code of 13 (Paid or closed account/zero balance) or
65 (Account paid in full, a foreclosure was started) and a             • Account Condition and Payment Status Code ‘68,’
Special Comment of AU (Account paid in full for less than              which corresponds to a status of “settled” and a
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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



     Special Comment of–Acct legally paid in full for less        C. Fannie Mae’s Interpretation of Defendant’s Credit
     than the full balance. The ‘68’ corresponds to the           Reports
     furnisher’s reporting of Special Comment Code ‘AU,’       Fannie Mae, a government-sponsored enterprise,
     and it automatically populates a ‘9’ into the first       purchases loans from lenders. (Pl.’s Stmt. 29, ECF No.
     position o[f] the history grid to display the “settled”   171-1 at 24.) It creates its own rules governing which loans
     status.                                                   it may purchase, set forth in its Selling Guide, which are
                                                               implemented through its proprietary computer software,
     • Payment History Grid showing the current/final          Desktop Underwriter. (Pl.’s Stmt. 30, ECF No. 171-1 at
     status (“Settled”) in the first entry, followed by 24     24.) Fannie Mae licenses Desktop Underwriter to lenders,
     months of payment history information                     which use the software to obtain recommendations about
                                                               whether Fannie Mae would purchase a particular loan. (Id.)
     *3 • Date of status for the 25th month in the payment
     history grid, corresponding to the date the “settled”     In providing this recommendation, Desktop Underwriter
     status was reported to [Defendant].                       analyzes loan application information, including credit
                                                               report data. (Pl.’s Stmt. 31, ECF No. 171-1 at 24–25.)
(Hughes Decl. ¶ 15, ECF No. 162-9; see also O’Donnell          Consumer reporting agencies have no control over Fannie
Decl. Ex. 2 at 25, ECF No. 167-1 at 35 (sealed); O’Donnell     Mae’s interpretation of this information, and the CFPB
Decl. Ex. 3 at 90, 121, ECF No. 167-1 at 174, 205 (sealed).)   does not regulate it.2 (Id.) Fannie Mae imposed a longer
According to Defendant’s technical manuals, the “9” that       waiting period for prior foreclosures than for prior short
Defendant populates in the first position of its payment       sales. (Pl.’s Stmt. 32, ECF No. 171-1 at 25.)
history grid can mean a number of things, including
“Settled, Insurance Claim, Term Default, Government            *4 Fannie Mae’s manner of payment code (MOP)
Claim, Paid by Dealer, BK Chapter 7, 11, or 12 Petitioner,     corresponds to Defendant’s initial payment history grid
or Discharged and BK Chapter 7, 11, or 12 Reaffirmation        code. (Pl.’s Stmt. 35, ECF No. 171-1 at 26.) Until 2013,
of Debt Rescinded.” (O’Donnell Decl. Ex. 3 at 121, ECF         when Desktop Underwriter received a remarks code for
No. 167-1 at 205 (sealed); see also Hughes Decl. ¶ 19, ECF     “Paid Less than Owed,” it would identify a possible short
No. 162-9.) A foreclosure, by contrast, is represented in      sale and recommend Accept unless there was an MOP code
Defendant’s credit reports by the Account Condition and        of 8 or 9. (Cento Decl. Ex. 47 at 149:18–150:5, ECF No.
Payment Status Code “94,” corresponding to a status of         171-50 at 38–39.) If there was an MOP code of 8 or 9,
“foreclosed” and a special comment that “Credit Grantor        Desktop Underwriter would instead treat the mortgage
reclaimed collateral to settle defaulted mortgage,” and        account as a foreclosure and recommend a Refer with
Payment History Grid initial code “8,” indicating              Caution. (Cento Decl. Ex. 47 at 151:12–19, ECF No. 171-
“Foreclosure Proceedings Started, Deed in Lieu” or             50 at 40.)
“Foreclosure.” (O’Donnell Decl. Ex. 3 at 91, 121, ECF No.
167-1 at 175, 205 (sealed); see also Hughes Decl. ¶ 18,        This was because Fannie Mae’s Selling Guide previously
ECF No. 162-9.)                                                required that “[m]ortgage accounts...will be identified as a
                                                               foreclosure if there is a current status or manner of
Unlike a credit report, which contains industry codes and      payment/MOP code of ‘8’ (foreclosure) or ‘9’ (collection
fields which are designed to be read by computers and          or charge-off).” (Pl.’s Stmt. 34, ECF No. 171-1 at 25–26.)
which would be unfamiliar and meaningless to a lay             Fannie Mae made the decision to treat “9’s the same as “8’s
consumer, the consumer disclosure uses a more elementary       years before, even though the code “9” was not intended to
and easy-to-read format to convey the same information.        represent foreclosures. (Pl.’s Stmt. 37, ECF No. 171-1 at
(Hughes Decl. ¶¶ 17, 52, ECF No. 162-9.) Consequently,         26; see also Cento Decl. Ex. 52, ECF No. 176-15 at 17
when reporting a short sale in a consumer disclosure,          (“From time to time, delinquent mortgage tradelines are
Defendant does not display the numerical code “9” in the       reported with a status or manner of payment code (“MOP”
leading position of the payment history grid. (Pl.’s Stmt.     code) of M-9, which is defined by the credit agencies as
20, ECF No. 171-1 at 16.) Instead, Defendant prints            either charged-off to bad debt or in collection. We have
“CLS,” representing that the account is “Closed.” (Hughes      determined, however, that M-9 accounts are actually
Decl. ¶¶ 17, 56, ECF No. 162-9.) The file disclosure           foreclosures, and as such, we have modified the rules in
additionally notes that the account was “[p]aid in             Desktop Underwriter to treat tradelines with an M-9 status
settlement,” with a creditor’s statement of “[a]ccount         code as a foreclosure.”) (sealed).) Prior to reprogramming
legally paid in full for less than full balance.” (Id.)        its Desktop Underwriter software in 2013, the only way to
                                                               override Fannie Mae’s software’s identification of a
                                                               potential foreclosure was to have a loan officer manually

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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



underwrite the loan. (Pl.’s Stmt. 41, ECF No. 171-1 at 28;      going forward” (O’Donnell Decl. Ex. 36 at 74:2–3, ECF
see also Cento Decl. Ex. 47 at 151:12–152:1, ECF No. 171-       No. 162-7 at 41). In other words, Mr. Webster was of the
50 at 40–41.)                                                   opinion that the issue was with the merged-report
                                                                technology providers. (See Cento Decl. Ex. 128, ECF No.
Defendant first became aware of this issue in 2010, when        171-122.)
it began to receive consumer disputes from consumers who
were denied a mortgage because Defendant was “showing           *5 In May 2013, Defendant, Equifax, and TransUnion
a foreclosure on their file.” (Cento Decl. Ex. 43 at 86:4–14,   approved a new short sale code as a potential solution.
ECF No. 171-47.) In 2011 and 2012, Defendant heard from         (Cento Decl. Ex. 103, ECF No. 171-99 at 3.) Defendant
a number of sources that consumers’ short sales were being      was willing to implement the new code in February 2014.
identified as foreclosures by Fannie Mae’s Desktop              (Centro Decl. Ex. 104, ECF No. 171-100.)
Underwriter because of the use of the MOP code 9. (See,
e.g., Cento Decl. Ex. 55, ECF No. 176-16 (April 2012            Meanwhile, Fannie Mae updated its Selling Guide in
email from TNG Mortgage Consultants) (sealed); Cento            October 2013 to recognize that “[short sales] may not be
Decl. Ex. 57, ECF No. 176-17 (August 2011 email from            accurately or consistently reported in the same manner by
Informative Research) (sealed); Cento Decl. Ex. 58, ECF         all creditors or credit reporting agencies.” (O’Donnell
No. 171-59 (October 2012 email from CitiMortgage);              Decl. Ex. 48 at 486, ECF No. 162-7 at 106.) The Selling
Cento Decl. Ex. 59, ECF No. 171-60 (January 2012 email          Guide further provided that “[m]ortgage accounts...will be
from Service 1st Information Systems); see also Cento           identified as a foreclosure if there is an MOP code of
Decl. Ex. 142, ECF No. 171-145 (demonstrative of exhibits       ‘8’....[¶] [and] also...if there is a current MOP code of ‘9’
demonstrating “confusion and complaints about code 9”)          (collection or charge-off) and there are no deed-in-lieu of
(emphasis omitted).)                                            foreclosure (DIL) or [short sale] Remarks Codes associated
                                                                to the tradeline.” (O’Donnell Decl. Ex. 48 at 495, ECF No.
When Defendant addressed the issue with Fannie Mae,             162-7 at 115.) Consequently, “[Desktop Underwriter] will
Fannie Mae “responded that they would ‘not’ be changing         determine if a mortgage tradeline is a [short sale] by using
their Desktop Underwriter as they do not have the               specific Remarks Codes that are present in the credit report
resources and [Defendant] is the only bureau reflecting         data and associated to the tradeline.” (O’Donnell Decl. Ex.
‘AU’ (settled accounts) as a ‘9.’ ” (Cento Decl. Ex. 58, ECF    48 at 497, ECF No. 162-7 at 117.) The lender would then
No. 171-59 at 3.) Defendant also resisted changing its          have to confirm the accuracy of a reported short sale. (Id.)
coding. (See Cento Decl. Ex. 109, ECF No. 171-105 at 5.)
                                                                Fannie Mae further revised its Selling Guide in 2014, such
In 2013, federal regulators became concerned that               that foreclosures would be identified by “an MOP code of
applicants with short sales were being prevented from           ‘8,’ or a Remarks Code that indicates a foreclosure is
obtaining mortgages. (Pl.’s Stmt. 42, ECF No. 171-1 at 28–      present in the credit report data and associated to the
29.) In June of that year, the CFPB “describe[d] the            tradeline” (O’Donnell Decl. Ex. 49 at 509–10, ECF No.
solution as: [¶] ‘[Defendant] could reprogram it’s [sic]        162-7 at 138–39), whereas “[Desktop Underwriter] will
system or Fannie Mae could reprogram its system.’ ”             determine if a mortgage is a [short sale] by using specific
(Cento Decl. Ex. 109, ECF No. 171-105 at 6.) Brian              Remarks Codes that are present in the credit report data and
Webster of the CFPB also noted in a Mortgage Markets            associated to the tradeline” (O’Donnell Decl. Ex. 49 at 511,
Research, Markets & Regulations memorandum that the             ECF No. 162-7 at 140), “such as ‘Settled for less than full
CFPB’s “investigation discovered that the underlying            balance’ ” (O’Donnell Decl. Ex. 49 at 498–99, ECF No.
problem was not due to inaccurate reporting by furnishers       162-7 at 127–28.)
or the credit reporting companies, but rather an issue of
conflicting information being presented on the consumer’s
credit tradeline within the tri-merge credit reports.”
(O’Donnell Decl. Ex. 39, ECF No. 162-7 at 57; O’Donnell
Decl. Ex. 36 at 74:3–75:25, ECF No. 162-7 at 40–41.) Tri-
merge reports take credit reports from Defendant, Equifax,         D. Plaintiff’s Short Sales and Subsequent Loan
and TransUnion—the three nationwide credit bureaus—                Applications
and create a single document. (O’Donnell Decl. Ex. 36 at        Plaintiff Shaw had a short sale in March 2010. (Pl.’s Stmt.
17:18–25, 18:18–25, ECF No. 162-7 at 11–12.) Although           53, ECF No. 171-1 at 34.) When Plaintiff Shaw later sought
Mr. Webster later “essentially rescinded” that                  to move to a new state, he ran his own information through
memorandum (see Cento Decl. Ex. 128, ECF No. 171-               Fannie Mae’s Desktop Underwriter, which indicated that
122), “not much changed in terms of [the CFPB’s] views          he had a foreclosure. (Pl.’s Stmt. 54, ECF No. 171-1 at 34.)
                                                                Plaintiff Shaw later applied for a custom construction loan
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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



with Banner Bank, which used Freddie Mac’s underwriting         short sale and never thought that he had a foreclosure. (Id.)
software, Loan Prospector. (See O’Donnell Decl. Ex. 19 at       Fannie Mae’s Desktop Underwriter also said nothing about
13:17–24, 37:15–19, ECF No. 162-4 at 120, 123; see also         a potential foreclosure. (Id.) Consequently, Plaintiff
O’Donnell Decl, Exs. 20–21, ECF Nos. 167-4–5 (sealed).)         Rydman’s application was approved with no problems.
Loan Prospector informed Banner Bank that “[t]he                (Id.) Plaintiff Rydman alleges, however, that he was unable
Borrower has had a short sale/deed-in-lieu of foreclosure       to “get in the market before it went up,” leading him to over
within the last seven years.” (O’Donnell Decl. Ex. 20, ECF      $50,000 in claimed losses. (See Cento Decl. Ex. 170, ECF
No. 167-4 at 6; O’Donnell Decl. Ex. 21, ECF No. 167-4 at        No. 171-172 at 17; see also Cento Decl. Ex. 92 at 85:1–
14.) Banner Bank understood this to mean that Plaintiff         90:4, ECF No. 171-88 at 13–18.)
Shaw had a short sale. (O’Donnell Decl. Ex. 19 at 35:25–
37:5, 38:24–39:2 46:6–11, ECF No. 162-4 at 121–23, 124–
25, 127.) Banner Bank ultimately originated the loan for
which Plaintiff Shaw applied (O’Donnell Decl. Ex. 19 at
39:11–13, ECF No. 162-4 at 125), but Plaintiff Shaw
claims that he would have received a lower interest rate if        E. Plaintiffs’ Consumer Disclosures and Disputes
Defendant had not reported his short sale with a 9 and that     Plaintiff Shaw received copies of his consumer disclosure
the extreme stress he suffered during this period was a         from Defendant on August 18, 2012 (O’Donnell Decl. Ex.
possible factor in his contracting a viral infection (see       14, ECF No. 167-3 at 2–29 (sealed)) and December 12,
Cento Decl. Ex. 91 at 193:19–197:23, 207:16–208:24,             2012 (Cento Decl. Exs. 62–63, 115, ECF Nos. 171-63–64,
222:4–224:22, ECF No. 171-87 at 7–16).                          171-109 (sealed)). Plaintiff Shaw wrote letters to Wells
                                                                Fargo Home Equity (Cento Decl. Ex. 64, ECF No. 176-19
*6 Plaintiff Coke completed a short sale in April 2011,         (sealed)) and Defendant (Cento Decl. Ex. 146, ECF No.
which Wells Fargo reported to Defendant in May 2011.            185 (sealed)) on December 12, 2012. Plaintiff Shaw
(O’Donnell Decl. Ex. 9 at 3, ECF No. 167-1 at 227               requested the Defendant remove the “9” from his past
(sealed).) In 2012, Plaintiff Coke obtained a mortgage from     payment codes. (Cento Decl. Ex. 64, ECF No. 176-19 at 2
Commonwealth Bank, which used a private underwriting            (sealed); Cento Decl. Ex. 146, ECF No. 185 at 2 (sealed).)
system that correctly identified Plaintiff Coke’s short sale.   Plaintiff Shaw followed up with Wells Fargo on December
(Pl.’s Stmt. 57, ECF No. 171-1 at 35.) When                     26, 2012. (Cento Decl. Ex. 65, ECF No. 176-20 (sealed).)
Commonwealth Bank sought to underwrite a subsequent             Plaintiff Shaw received dispute responses from Defendant
mortgage loan for Plaintiff Coke in March 2013, it used         dated September 19, 2013 (Cento Decl. Ex. 164, ECF No.
Fannie Mae’s Desktop Underwriter, which identified a            171-166) and September 23, 2013 (Cento Decl. Ex. 163,
possible foreclosure based on Defendant’s use of the            ECF No. 171-165).
numerical code 9. (Pl.’s Stmt. 58, ECF No. 176-1 at 35.)
Commonwealth Bank had a policy not to manually                  Plaintiff Coke received copies of his consumer disclosure
underwrite loans that Desktop Underwriter referred with         from Defendant dated March 15, 2012 (O’Donnell Decl.
caution. (O’Donnell Decl. Ex. 24 at 20:8–23, 39:19–23,          Ex. 9, ECF No. 167-1 at 225–44 (sealed); Cento Decl. Ex.
ECF No. 162-4 at 168, 172.) Ultimately, however, Plaintiff      117, ECF No. 171-111) and June 4, 2013 (O’Donnell Decl.
Coke did receive a loan from Commonwealth Bank.                 Ex. 8 at 75:6–18, ECF No. 162-4 at 48; O’Donnell Decl.
(O’Donnell Decl. Ex. 24 at 100:16–18, ECF No. 162-4 at          Ex. 11, ECF No. 167-1 at 253–72 (sealed)). Plaintiff Coke
202.) Plaintiff Coke alleges that the loan he ultimately        wrote a letter to Defendant on June 4, 2013 noting that
received had a higher interest rate and that he suffered        “[b]oth Trans Union and Equifax’s reports...rate [my
stress and embarrassment. (See Cento Decl. Ex. 93 at            previous Wells Fargo mortgage account] as a 1. Experian
80:17–20, 112:6–113:7, 115:4–9, 122:1–125:25, ECF No.           was the only credit reporting company that rated my Wells
171-89 at 11, 14–20; Cento Decl. Ex. 168, ECF No. 171-          Fargo account as a 9. Apparently a 9 rated [sic] means
170 at 17.)                                                     foreclosure, bankruptcy, etc. which is not what I had with
                                                                Wells Fargo.” (O’Donnell Decl. Ex. 10, ECF No. 167-1 at
Plaintiff Rydman had a short sale in June 2011. (Pl.’s Stmt.    246 (sealed); Cento Decl. Ex. 148, ECF No. 171-151.)
60, ECF No. 171-1 at 36.) In 2013, Plaintiff Rydman             Plaintiff Coke received dispute responses dated June 14,
applied for a mortgage and Fannie Mae’s Desktop                 2013 (Cento Decl. Ex. 158, ECF No. 171-161) and July 1,
Underwriter identified a possible foreclosure. (Pl.’s Stmt.     2013 (Cento Decl. Ex. 159, ECF No. 171-162).
61, ECF No. 171-1 at 36–37.) The lender’s policy did not
allow for manual underwriting. (Id.) Plaintiff Rydman           Plaintiff Rydman received copies of his consumer
applied for another mortgage in 2014. (Pl.’s Stmt. 62, ECF      disclosure from Defendant dated June 3, 2013 (O’Donnell
No. 171-1 at 37.) The bank knew of Plaintiff Rydman’s           Decl. Ex. 16 at 34:5–8, ECF No. 162-4 at 103; O’Donnell
                                                                Decl. Ex. 18, ECF No. 167-3 at 50–83 (sealed)) and
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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



November 13, 2013 (Cento Decl. Ex. 116, ECF No. 171-                        EVIDENTIARY OBJECTIONS
110). On June 17, 2013, Plaintiff Rydman requested that
Defendant “update [the] status to shortsale” for his Wells      Accompanying its Reply, Defendant submits a list of
Fargo account. (Cento Decl. Ex. 147, ECF No. 171-150 at         evidentiary objections to 120 of Plaintiffs’ exhibits. (See
2.) Plaintiff Rydman received dispute responses dated June      generally Objs., ECF No. 178-1.) Plaintiffs’ twenty-five-
17, 2013 (Cento Decl. Ex. 160, ECF No. 171-163) and             page response criticizes Defendant’s “scattershot
September 19, 2013 (Cento Decl. Ex. 161, ECF No. 171-           approach,” the vagueness of Defendant’s objections, and
164).                                                           Defendant’s reliance upon an outdated version of Rule 56
                                                                to challenge unauthenticated documents. (See generally
                                                                Resp., ECF No. 186.)

                                                                “The Court is mindful of the need to consider the quality
                                                                of evidence presented in support of or opposition to a
II. Procedural Background                                       summary judgment motion...[and] has thoroughly
*7 Plaintiff Shaw filed this putative class action on June 3,   reviewed and considered the voluminous record, including
2013 against Wells Fargo Bank, N.A. and CitiMortgage,           all evidence, arguments, points and authorities,
Inc. (the Furnisher Defendants) and Defendant, alleging         declarations, testimony, objections and other papers filed
four violations of the FCRA. (ECF No. 1.) A first amended       by the parties.”          All Star Seed v. Nationwide
complaint (FAC) was filed on behalf of Plaintiffs on            Agribusiness Ins. Co., No. 12CV146 L BLM, 2014 WL
August 19, 2013. (ECF No. 30.)                                  1286561, at *16 (S.D. Cal. Mar. 31, 2014). “To the extent
                                                                that the evidence is proper under the Federal Rules of
In September 2013, the Furnisher Defendants moved to            Evidence, the Court considered the evidence. To the extent
dismiss Plaintiffs’ FAC (ECF Nos. 35, 36), while                that the evidence is not proper, the Court did not consider
Defendant filed an answer (ECF No. 37). The Court               [it].” Hammitt v. Lumber Liquidators, Inc., 19 F. Supp. 3d
granted the Furnisher Defendants’ motions to dismiss on         989, 1003 (S.D. Cal. 2014). The Court therefore
May 7, 2014. (ECF No. 55.) On May 20, 2014, Plaintiffs          OVERRULES Defendant’s Evidentiary Objections. (ECF
filed the operative second amended complaint (SAC).             No. 178-1.)
(ECF No. 56.)

On June 6, 2014, the Furnisher Defendants again moved to
dismiss (ECF Nos. 58, 60), while Defendant filed an
answer (ECF No. 59). On September 29, 2014, the Court
granted in part and denied in part the Furnisher
Defendants’ motions to dismiss. (ECF No. 70.) The parties                REQUEST FOR JUDICIAL NOTICE
later stipulated to the dismissal with prejudice of the
Furnisher Defendants. (ECF Nos. 93, 113.)                       Federal Rule of Evidence 201(b) provides that “[t]he court
                                                                may judicially notice a fact that is not subject to reasonable
Meanwhile, Plaintiffs moved for class certification (ECF        dispute because it: (1) is generally known within the trial
No. 103) and filed a Daubert motion (ECF No. 140), while        court’s territorial jurisdiction; or (2) can be accurately and
Defendant filed motions for summary judgment (ECF No.           readily determined from sources whose accuracy cannot
115) and to stay the hearing on Plaintiff’s motion for class    reasonably be questioned.” “Judicially noticed facts often
certification pending the Supreme Court’s decision in           consist of matters of public record, such as prior court
Spokeo, Inc. v. Robins, 135 S. Ct. 1892 (2015) (ECF No.         proceedings...or other court documents.”            Botelho v.
129). On October 26, 2015, the Court stayed this action         U.S. Bank, N.A., 692 F. Supp. 2d 1174, 1178 (N.D. Cal.
pending a decision in Spokeo and denied without prejudice
                                                                2010) (citation omitted); see also Reyn’s Pasta Bella,
the remaining pending motions. (ECF No. 148.)
                                                                LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir.
                                                                2006) (The court “may take judicial notice of court filings
Following the Supreme Court’s resolution of Spokeo on
                                                                and other matters of public record.”).
May 16, 2016, the Court lifted the stay on June 20, 2016.
(ECF No. 159.) On July 14, 2016, Defendant filed the
                                                                *8 Defendant asks the Court to take judicial notice of eight
instant MSJ. (ECF No. 162.)
                                                                exhibits, all of which are filings or docket reports in two
                                                                other cases, McCalmont v. Federal National
                                                                MortgageAssociation, No. 2:13-cv-02107 (D. Ariz. Oct. 16
                                                                2013) and Zabriskie v. Federal National Mortgage

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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



Association, 2:13-cv-02260 SRB (D. Ariz. Nov. 5, 2013).          went uncontroverted at trial.” See        C.A.R. Transp.
(See RJN 2–3, ECF No. 162-10.) While “[a] court may take         Brokerage Co. v. Darden Rests., Inc., 213 F.3d 474, 480
judicial notice of the existence of matters of public record,    (9th Cir. 2000) (quoting Houghton v. South, 965 F.2d 1532,
such as a prior order or decision,” it should not take notice    1536 (9th Cir. 1992)).
of “the truth of the facts cited therein.”     Marsh v. San
Diego Cnty., 432 F. Supp. 2d 1035, 1043 (S.D. Cal. 2006).        Once the moving party satisfies this initial burden, the
Consequently, “[t]o the extent that [Defendant] seeks to         nonmoving party must identify specific facts showing that
admit findings contained these materials for the truth of the    there is a genuine dispute for trial.   Celotex, 477 U.S. at
matters they assert, judicial notice is not appropriate[,        324. This requires “more than simply show[ing] that there
and]...[t]o the extent [Defendant] seeks to cite materials
that support its arguments, judicial notice is                   is some metaphysical doubt as to the material facts.”
unnecessary....” Banneck v. HSBC Bank USA, N.A., No.             Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475
15-CV-02250-HSG, 2016 WL 3383960, at *2 (N.D. Cal.               U.S. 574, 586 (1986). Rather, to survive summary
                                                                 judgment, the nonmoving party must “by her own
June 20, 2016) (citing       Lasar v. Ford Motor Co., 399        affidavits, or by the ‘depositions, answers to
F.3d 1101, 1117 n.14 (9th Cir. 2005);      Wyatt v. Terhune,     interrogatories, and admissions on file,’ designate ‘specific
315 F.3d 1108, 1114 n.5 (9th Cir. 2003)). The Court              facts’ ” that would allow a reasonable fact finder to return
therefore DENIES Defendant’s RJN. (ECF No. 162-10.)              a verdict for the non-moving party.       Celotex, 477 U.S.
                                                                 at 324;      Anderson, 477 U.S. at 248. The non-moving
                                                                 party cannot oppose a properly supported summary
                                                                 judgment motion by “rest[ing] on mere allegations or
                                                                 denials of his pleadings.”      Anderson, 477 U.S. at 256.
                                                                 While “the mere existence of some alleged factual dispute
      MOTION FOR SUMMARY JUDGMENT                                between the parties will not defeat an otherwise properly
                                                                 supported motion for summary judgment,...summary
                                                                 judgment is not warranted if a reasonable jury could return
                                                                 a verdict for the nonmoving party.” United States v.
I. Legal Standard                                                Arango, 670 F.3d 988, 992 (9th Cir. 2012) (emphasis in
Summary judgment is appropriate where the Court is               original) (quoting      Anderson, 477 U.S. at 247–48)
satisfied that there is “no genuine dispute as to any material   (internal quotation marks omitted).
fact and the movant is entitled to judgment as a matter of
law.” Fed. R. Civ. P. 56(a);        Celotex Corp. v. Catrett,
477 U.S. 317, 322 (1986). Material facts are those that may
affect the outcome of the case.         Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986). A genuine dispute         II. Analysis
of material fact exists only if “the evidence is such that a     *9 Plaintiffs’ SAC alleges three claims against Defendant
reasonable jury could return a verdict for the nonmoving
party.” Id. When the Court considers the evidence                for violating the following provisions of the FCRA: (1)
presented by the parties, “[t]he evidence of the non-movant      15 U.S.C. § 1681e, (2) 15 U.S.C. § 1681i, and (3)       15
is to be believed, and all justifiable inferences are to be      U.S.C. § 1681g. (SAC ¶¶ 103–25, ECF No. 56.) Defendant
drawn in his favor.”       Id. at 255.                           moves for summary judgment or, alternatively, summary
                                                                 adjudication in its favor on all of Plaintiff’s surviving
The initial burden of establishing the absence of a genuine      claims. (MSJ 2, ECF No. 162.)
issue of material fact falls on the moving party.    Celotex,
477 U.S. at 323. The moving party may meet this burden
by identifying the “portions of ‘the pleadings, depositions,
answers to interrogatories, and admissions on file, together       A. First and Second Causes of Action:      15 U.S.C.
with the affidavits, if any,’ ” that show an absence of            §§ 1681e and        1681i
dispute regarding a material fact. Id. When a party seeks        Plaintiffs’ first cause of action is brought under    15
summary judgment as to an element for which it bears the         U.S.C. § 1681e, which provides that “[w]henever a
burden of proof, “it must come forward with evidence             consumer reporting agency prepares a consumer report it
which would entitle it to a directed verdict if the evidence     shall follow reasonable procedures to assure maximum

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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



possible accuracy of the information concerning the              accuracy.” (Opp’n 23, ECF No. 176.) Moreover, the
individual about whom the report relates.”   15 U.S.C. §         accuracy of Defendant’s reports is more appropriately a
                                                                 question for a jury. (Seeid. at 24) (quoting Valentine v. First
1681e(b). Pursuant to   15 U.S.C. § 1681i, the provision         Advantage Saferent, Inc., No. EDCV 08-142 VAP (OPX,
of the FCRA upon which Plaintiffs’ second cause of action        2009 WL 4349694, at *8 (C.D. Cal. Nov. 23, 2009)) (citing
is predicated,
                                                                    Koropoulos v. Credit Bureau, Inc., 734 F.2d 37, 42
                                                                 (D.C. Cir. 1984);       Yourke v. Experian Info. Solutions,
                                                                 Inc., No. C 06-2370 CW, 2007 WL 1795705, at *4 (N.D.
             if the completeness or accuracy of                  Cal. June 20, 2007)).)
             any item of information contained in
             a consumer’s file at a consumer                     The Court finds Banneck, the case upon which Defendant
             reporting agency is disputed by the                 chiefly relies (see MSJ Mem. 18, ECF No. 162-1; Reply 9–
             consumer and the consumer notifies                  10, ECF No. 178), persuasive. In Banneck, as in this case,
             the agency directly, or indirectly                  plaintiff completed a short sale and Defendant reported it
             through a reseller, of such dispute,                using an account condition and payment status code of 68
             the agency shall, free of charge,                   and an initial payment history grid code of 9. 2016 WL
             conduct a reasonable reinvestigation                3383960, at *1, *3–4. Also as in this case, plaintiff applied
             to determine whether the disputed                   for a subsequent mortgage loan and, when the lender ran
             information is inaccurate and record                plaintiff’s application—including a tri-merge credit
             the current status of the disputed                  report— through Fannie Mae’s Desktop Underwriter
             information...before the end of the                 software, it issued a Refer with Caution recommendation
             30-day period beginning on the date                 because of Defendant’s use of the numerical code 9. Id. at
             on which the agency receives the                    *4. The district court in Banneck granted summary
             notice of the dispute from the
             consumer or reseller.                               judgment on plaintiff’s claims arising under       §§ 1681e
                                                                 and      1681i, id. at *8, *9, reasoning that to the extent
                                                                 plaintiff’s claims relied on a theory that Defendant reported
                                                                 his sale as a foreclosure, “[plaintiff] has produced no
   15 U.S.C. § 1681i(a)(1)(A).                                   evidence that Experian reported his short sale as anything
                                                                 other than a short sale,” id. at *6.
Both provisions require Plaintiffs to make a prima facie
showing of inaccurate reporting. See           Carvalho v.       *10 The court then proceeded to “[t]he more difficult
Equifax Info. Servs., LLC, 629 F.3d 876, 890 (9th Cir.           question [of] whether Experian is entitled to judgment as a
                                                                 matter of law on the claim that it reported [plaintiff]’s short
2010) (quoting       Dennis v. BEH-1, LLC, 520 F.3d 1066,
                                                                 sale in a technically correct but materially misleading
1069 (9th Cir. 2008)) (addressing            § 1681i);           manner.” Id. Ultimately, the court found “that Experian’s
Guimond v. Trans Union Credit Info. Co., 45 F.3d 1329,           simultaneous reporting of the numerical code ‘68,’ which
1333 (9th Cir. 1995) (citing        Cahlin v. Gen. Motors        no one disputes refers only to a short sale, ... is dispositive
Acceptance Corp., 936 F.2d 1151, 1156 (11th Cir. 1991))          in favor of Experian.” Id. at *7. Relying on         Toliver v.
(addressing     § 1681e(b)). “[A]n item on a credit report       Experian Information Solutions, Inc., 973 F. Supp. 2d 707
can be ‘incomplete or inaccurate’ ...‘because it is patently     (S.D. Tex. 2013), the court reasoned that “[t]he use of a
incorrect, or because it is misleading in such a way and to      code that has multiple meanings is not misleading where
such an extent that it can be expected to adversely affect       the credit reporting agency clarifies which credit event is
credit decisions.’ ”    Carvalho, 629 F.3d at 890 (quoting       actually being reported with an undisputedly clear
                                                                 additional code.” Banneck, 2016 WL 3383960, at *7.
   Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147,             Additionally, “[t]hat Fannie Mae programmed its
1163 (9th Cir. 2009)).                                           underwriting software in a manner that misinterpreted
                                                                 Experian’s credit reporting codes does not change the
Defendant argues that “Plaintiffs cannot demonstrate a           analysis” because “the ‘materially misleading’ standard is
triable issue over whether [Defendant]’s reporting was           objective” and “Experian’s reporting, which the Court
inaccurate or misleading.” (MSJ Mem. 22, ECF No. 162-            finds was not misleading as a matter of law, did not become
1.) Plaintiffs counter that “[i]f a report is conflicting, the   misleading by virtue of the fact that Experian may have
data display problematic, or further efforts are necessary       known an end user was incorrectly interpreting it.” Id.
for accuracy, then surely there is not maximum possible

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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



Perhaps tellingly, Plaintiffs do not attempt to distinguish      indicates that “[h]e does not believe that it is a question for
Banneck in any meaningful fashion. (See Opp’n 26, ECF            nationwide credit bureau repositories (EFX, EXP, TU)[,
No. 176.) Plaintiffs instead hang their hat on the fact that     but rather i]t is a question for merged-report technology
the “plaintiff [in Banneck] did not designate even a fraction    providers” (Cento Decl. Ex. 128, ECF No. 171-122 at 2).
of the evidence presented here.” (Id.; see also MSJ Hr’g Tr.     There is no evidence in the record that Mr. Webster ever
22:17–23:18.3) True, Plaintiffs have introduced over 4,500       changed his initial conclusion that “the underlying problem
pages of briefing and exhibits in opposition to Defendant’s      was not due to inaccurate reporting by...the credit reporting
MSJ. (See generally ECF Nos. 171, 176 (sealed).) But that        companies.” (See O’Donnell Decl. Ex. 39, ECF No. 162-7
veritable mountain of evidence does not create a triable         at 57.) Plaintiffs also emphasize the importance of Exhibit
issue of material fact where the plaintiff in Banneck failed.    24, in which Ms. Finneran responds to Fannie Mae’s
                                                                 inquiry concerning “identif[ication of] short sales in the
Here, as in Banneck, Defendant reported Plaintiffs’ short        Experian data” with the revelation that “[t]here are no
sales using both the numerical code 68 in the account            specific codes that will specifically identify a the [sic]
condition and payment status field and a numerical code 9        Short Sale condition. The data reporting guidelines instruct
in as the leading digit of the payment history grid. (See        the client to report the account as Settled-Special Comment
O’Donnell Decl. Ex. 15, ECF No. 167-3 at 31, 33, 36              AU. So the presence of this comment on a Mortgage loan
(sealed); see also Hughes Decl. ¶¶ 49–51, ECF No. 162-9.)        ‘could’ imply short sale.” (Cento Decl. Ex. 24, ECF No.
Defendant also provided to Fannie Mae—and its other              171-28.) This e-mail, however, appears to be addressing
subscribers—its technical manuals, which indicated that an       Metro 2 codes, not Defendant’s proprietary codes,
account condition and payment status code of 68 meant            including the payment history code 9 that is so central to
“Account legally paid in full for less than the full balance”    this litigation; consequently, the Court is hard-pressed to
and that a payment profile code 9 meant, among a number          recognize the significance that Plaintiffs’ impute to it. At
of other things, “Settled.” (See O’Donnell Decl. Ex. 2 at        the hearing, Plaintiffs argued that Defendant’s technical
25, ECF No. 167-1 at 35 (sealed); O’Donnell Decl. Ex. 3          manuals did not add “settled” to the definition for code 9
at 90, 121, ECF No. 167-1 at 174, 205 (sealed); O’Donnell        until 2013 (MSJ Hr’g Tr. 10:2–5), but Plaintiffs’ briefing
Decl. Exs. 5–6, ECF Nos. 167-1 at 38, 40; see also Hughes        and exhibits indicate that it was actually added in March
Decl. ¶¶ 13, 18–19, 21, 23, 30, ECF No. 162-9.) It was well      2009 (see Opp’n 11, ECF No. 171; Cento Decl. Ex. 18 at
understood within the industry that mortgage accounts            iii, ECF No. 176-9 at 6 (sealed)).
legally paid in full for less than the full balance would
generally indicate a short sale and never a foreclosure. (See,   *11 In light of the foregoing, the Court GRANTS
e.g., O’Donnell Decl. Ex. 22 at 28:8–15, ECF No. 162-4 at        Defendant’s MSJ with respect to Plaintiffs’ first and
148; O’Donnell Decl. Ex. 34 at 26:22–27:2, 36:1–13,              second causes of action.
39:12–17, ECF No. 167-7 at 15–16, 19, 21 (sealed);
O’Donnell Decl. Ex. 36 at 28:20–25, ECF No. 162-7 at 22
(sealed); O’Donnell Decl. Ex. 40 at 17:21–18:3, ECF No.
167-7 at 51–52 (sealed); Hughes Decl. ¶ 55, ECF No. 162-            B. Third Cause of Action:       15 U.S.C. § 1681g
9.) In light of these facts, Defendant could not be expected
to anticipate that Fannie Mae would choose to interpret          Under     15 U.S.C. § 1681g, “[e]very consumer reporting
Defendant’s credit reports contrary to its explicit              agency shall, upon request, ...clearly and accurately
instructions.                                                    disclose to the consumer:...[¶] All information in the
                                                                 consumer’s file at the time of the request....”  15 U.S.C.
The evidence Plaintiffs introduce does not compel a              § 1681g(a)(1).
different conclusion. Plaintiffs introduced abundant
evidence concerning “confusion and complaints about              Plaintiffs do not clearly articulate precisely what
code 9” (see, e.g., Cento Decl. Ex. 142, ECF No. 171-145         information Defendant failed to disclose. Although they
(emphasis omitted)), but none of the underlying exhibits         note that “[t]hey wanted to dispute the code 9, which
demonstrates that any underwriting software other than           Experian did not show them” (Opp’n 25, ECF No. 176),
Fannie Mae’s Desktop Underwriter was unable to                   they also concede that “[n]o one claims Experian must
accurately identify a short sale because of Defendant’s use      show the actual codes” (id. at 26). At the hearing, Plaintiffs
of the initial grid code 9. Plaintiffs stress the CFPB’s         reiterated that they were not seeking Defendant’s coding,
supposed rescission of the Short Sale Credit Reporting and       but faulted Defendant for failing to incorporate the
Evaluation: Next Steps memorandum (see, e.g., Opp’n 21–          “equivalent” to a code 9 in its consumer disclosures. (MSJ
22, 27, 29, ECF No. 171), but the email reporting that Mr.       Hr’g Tr. 13:3–12; 24:10–25:2.) Plaintiffs’ unwillingness—
Webster “essentially rescinded his original memo” also           or inability—to identify with specificity the alleged
                                                                 inaccuracy in Defendant’s consumer disclosures is itself
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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



fatal to Plaintiffs’ claim.                                      unreasonable” in light of “the statutory text and relevant
                                                                 court and agency guidance.”     Id. at 69–70 & n.20.
But Plaintiffs’ claim also fails because the information they
seek—whatever it is— is outside the purview of              §    Defendant argues that “the very fact that the Northern
1681g. Although “there is a paucity of case law interpreting     District [in Banneck] found Experian’s short sale reporting
this provision,” see      Guimond, 45 F.3d at 1334,              to be accurate and reasonable—even if this Court
Gillespie v. Trans Union Corp., 482 F.3d 907 (7th Cir.           disagrees—supports the objective reasonableness of
2007) is instructive. In Gillespie, the plaintiffs sued under    Experian’s procedures and dooms Plaintiffs’ willfulness
    § 1681g(a)(1) for the defendant’s failure to include in      claims” under      §§ 1681e(b) or       1681i. (MSJ Mem.
their consumer reports a “purge date,” the date when             28, ECF No. 162-1.) With respect to Plaintiffs’     § 1681g
delinquent account information would be removed from             cause of action, Defendant claims that “Plaintiffs cannot
the report, which was generated solely for internal              show that Experian acted ‘recklessly’ or that Experian was
purposes.        482 F.3d at 908. The Seventh Circuit            ‘objectively unreasonable’ by failing to provide some type
affirmed the district court’s grant of summary judgment in       of cautionary footnote regarding Fannie Mae’s
defendant’s favor, concluding that “ ‘file’ means                underwriting systems” given the Seventh Circuit’s decision
information included in a consumer report,” which did not        in Gillespie. (Reply 7, ECF No. 178 (citing     Safeco, 551
include purge dates.       Id. at 908, 910. In reaching this     U.S. at 50, 69–70).) Plaintiffs counter that willfulness “is
conclusion, the Seventh Circuit took into account the            almost always a jury question” and that “[a] brief timeline
statutory language, the Federal Trade Commission’s               of Experian’s actions reveals willful, reckless disregard of
commentary, and the Senate Committee Report discussing           its obligations.” (Opp’n 27, ECF No. 176 (citing
the 1996 amendments to the FCRA, which “suggest[ed]              Guimond, 45 F.3d at 1333;        Edwards v. Toys “R” Us,
Congress wanted consumers to receive exactly what                527 F. Supp. 2d 1197, 1210 (C.D. Cal. 2007) (collecting
[plaintiffs] got from [defendant]—complete copies of their       cases)).)
consumer reports, not their entire files in whatever form
maintained by the CRA.”         Id. at 909–10.                   Here there is no statutory, court, or agency guidance
                                                                 suggesting that Defendant’s short sale reporting—either in
Here, as in Gillespie, Plaintiffs received complete copies of    credit reports or consumer disclosures—was objectively
their consumer reports. They are not entitled to that            unreasonable. To the contrary, the CFPB—the regulatory
information in the form maintained by Defendant, see             agency with supervisory and examination powers over
id. at 909, and Defendant need not provide information that      Defendant (O’Donnell Decl. Ex. 36 at 15:5–10, ECF No.
                                                                 162-7 at 9)—issued a memorandum noting that its
is not provided to third parties,4 see          id. at 910.      “investigation discovered that the underlying problem [to
Accordingly, the Court GRANTS Defendant’s MSJ with               the inaccurate identification of short sales as foreclosures
respect to Plaintiffs’ third cause of action.                    by Fannie Mae’s Desktop Underwriter] was not due to
                                                                 inaccurate reporting by furnishers or the credit reporting
                                                                 companies” (O’Donnell Decl. Ex. 39, ECF No. 162-7 at
                                                                 57). Although the CFPB later “essentially rescinded” that
   C. Willfulness Under       15 U.S.C. § 1681n                  memorandum (Cento Decl. Ex. 128, ECF No. 171-122),
*12 Because Plaintiffs seek damages pursuant to             15   the CFPB never subsequently informed Defendant that it
U.S.C. § 1681n (see SAC ¶¶ 108, 116, 124, ECF No. 56),           had changed this conclusion or advised Defendant that it
they must establish that Defendant “willfully fail[ed] to        had done anything wrong or should do anything differently
                                                                 (O’Donnell Decl. Ex. 29 at 64:18–65:23, ECF No. 162-4 at
comply” with the provisions of the FCRA, see 15 U.S.C.
                                                                 258–59). In light of this evidence that Defendant’s
§ 1681n(a).5 Willfulness requires a showing that Defendant
                                                                 regulatory agency did not fault its reporting of short sales,
knowingly or recklessly violated the FCRA’s standards.
                                                                 the Court cannot conclude that Defendant’s reporting of
See Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 57              short sales was objectively unreasonable. Similarly, the
(2007). “[A] company subject to FCRA does not act in             Seventh Circuit’s 2007 guidance that consumers are
reckless disregard of it unless the action is not only a         entitled to “complete copies of their consumer reports, not
violation under a reasonable reading of the statute’s terms,     their entire files in whatever form maintained by the CRA,”
but shows that the company ran a risk of violating the law
                                                                 see Gillespie, 482 F.3d at 909–10, precludes the Court
substantially greater than the risk associated with a reading
                                                                 from concluding that Defendant’s exclusion of the
that was merely careless.”      Id. at 69. In other words, the   numerical grid code 9 from its consumer disclosures was
company’s reading of the statute must be “objectively
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Shaw v. Experian Information Solutions, Inc., Not Reported in Fed. Supp. (2016)



objectively unreasonable.                                                          DENIES Defendant’s RJN (ECF No. 162-10), and
                                                                                   GRANTS Defendant’s MSJ (ECF No. 162). This Order
*13 Consequently, for this independent reason, the Court                           concludes the litigation in this matter. The Clerk of the
GRANTS Defendant’s MSJ as to all three of Plaintiff’s                              Court shall close the file.
causes of actions.
                                                                                   IT IS SO ORDERED.


                                                                                   Dated: September 28, 2016.

                                                                                   All Citations
                           CONCLUSION
                                                                                   Not Reported in Fed. Supp., 2016 WL 5464543
In light of the foregoing, the Court OVERRULES                                      
Defendant’s Evidentiary Objections (ECF No. 178-1),

Footnotes 
 
1          Pin citations to docketed materials refer to the CM/ECF page numbers electronically stamped at the top of each page. 
     
            
 
2          Fannie Mae is instead regulated by the Federal Housing Finance Authority (FHFA). (See O’Donnell Decl. Ex. 36 at 22:20–25, ECF No. 
     
           162‐7 at 16.) 
            
3          The Court cites to an unofficial copy of the transcript. Citations to page numbers should be identical to those in the copies available 
     
           to the parties. 
            
4          As for Plaintiffs’ contention that the information disclosed in the consumer disclosures was not “equivalent” to that contained in
     
           credit reports (see, e.g., MSJ Hr’g Tr. 13:3–12; 24:10–25:2.), the Court does not find this argument persuasive. Defendant’s credit
           reports identified short sales using an Account Condition and Payment Status Code of 68 (status of “settled” and Special Comment
           of‐Acct legally paid in full for less than the full balance) and a leading Payment History Grid code of 9 (“settled”). (See Hughes Decl. 
           ¶ 15, ECF No. 162‐9; see also O’Donnell Decl. Ex. 2 at 25, ECF No. 167‐1 at 35 (sealed); O’Donnell Decl. Ex. 3 at 90, 121, ECF No.
           167‐1 at 174, 205 (sealed).) Defendant’s consumer disclosures indicate a short sale with the notation that the account was “[p]aid 
           in settlement,” with a creditor’s statement of “[a]ccount legally paid in full for less than full balance.” This information alone is
           equivalent to the information contained in Defendant’s credit reports. That Defendant instead uses a notation of CLS (“Closed”) in 
           the initial box of the Payment History Grid of a consumer disclosure instead of “Settled”— or any of the other statuses which the
           numerical code 9 encompasses—does not mean that consumers are not receiving the equivalent of all of the information contained
           in their credit reports. 
            
5          At the hearing, Plaintiffs’ counsel indicated that the Court’s conclusion that Plaintiffs could not establish willfulness would only 
     
           dispose of class claims, not claims of the three named Plaintiffs. (MSJ Hr’g Tr. 42:5–14.) But Plaintiffs’ SAC only invokes               15 
           U.S.C.  §  1681n,  which  requires  a  showing  of  willfulness,  and  not    15  U.S.C.  §  1681o,  which  instead  requires  a  showing  of
           negligence. (See SAC ¶¶ 108, 116, 124, ECF No. 56.) 
            



 
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